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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                            6/26/2024

In re:
                                                                            03-MD-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                          ORDER


-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         The parties have submitted letters concerning sealed materials relevant to the

forthcoming oral argument on Saudi Arabia’s renewed motion to dismiss. See, e.g., ECF Nos.

9885, 9895. To address these sealing issues, a conference is scheduled for July 17, 2024, at 2:00

p.m. in Courtroom 318 of Thurgood Marshall United States Courthouse, 40 Foley Square, New

York, New York 10007.

         The parties should meet and confer prior to this date to narrow the issues for discussion.

Any party seeking to seal documents should file a letter brief by July 10, 2024. Any reply letter

brief should be filed by July 12, 2024. The letters should not exceed five pages.

SO ORDERED.



                                                             SARAH NETBURN
                                                             United States Magistrate Judge
DATED:           June 26, 2024
                 New York, New York
